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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 10/16/2020
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GENISE N. FORBES,                                                 :
                                                                  :
                                                    Plaintiff, :
                                                                  :        1:19-cv-05760-GHW
                              -against-                           :
                                                                  :            ORDER
AMBASSAD OF LENOX, NEW YORK, INC.                                 :
d/b/a Lenox Saphire, LENOX AVENUE                                 :
DEVELOPMENT LLC,                                                  :
                                                 Defendants. :
                                                                  :
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GREGORY H. WOODS, United States District Judge:
         Plaintiff’s October 16, 2020 request for a Local Rule 37.2 conference, Dkt. No. 41, is

granted. The Court will hold a telephone conference on October 20, 2020 at 11:00 a.m. The parties

are directed to use the conference dial-in information and access code referenced in the Court’s

Emergency Rules in Light of COVID-19, available on the Court’s website, and are specifically

directed to comply with Emergency Rule 2(C).

         Plaintiff is directed to serve a copy of this order on any of the defendants in this action

unrepresented by counsel and to retain proof of service.

         The Clerk of Court is directed to terminate the motion pending at Dkt. No. 41.

         SO ORDERED.

 Dated: October 16, 2020                                      _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
